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UN|TED STATES BANKRUPTCY COURT
FOR THE
WESTERN D|STR|CT OF KENTUCKY

|N RE: JOSEPH L. HAMPTON CASE NO: 11-32505

JOSEPH L. HAMPTON’S PLAN OF REORGAN|ZAT|ON
DATED FEBRUARY 25, 2013

ART|CLE l
SUMMARY

This P|an of Reorganization (the “P|an ) under chapter 11 of the Bankruptcy
Code proposes to pay creditors of Joseph L. Hampton from cash flow from rental
operations and sale of properties

This P|an provides for five (5) classes of secured claims; and one (1) class of
unsecured claims. Unsecured creditors holding allowed claims will receive distributions
which the proponent of this P|an has valued at one hundred cents on the dollar. This
P|an also provides for the payment of administrative and priority claims in full on the
Effective Date of this P|an unless such claimant has, prior to the Effective Date, agreed
in writing to accept periodic payment on account of its administrative and priority claims
Priority tax claims will be paid through quarterly cash payments

A|| creditors should refer to Artic|es ||| through of this P|an for information
regarding the precise treatment of their claim. A disclosure statement that provides
more detailed information regarding this P|an and the rights of creditors and equity
security holders has been circulated with this P|an. Your rights may be affected. You
should read these papers carefully and discuss them with your attorney, if you
have one. (|f you do not have an attorney, you may wish to consult one.)

ART|CLE ||
GENERAL PROV|S|ONS

2.01 Definitions and Ru|es of Construction. The definitions and rules of
construction set forth in §§ 101 and 102 of the Bankruptcy Code shall apply when terms
defined or construed in the Bankruptcy Code are used in this P|an, and they are
supplemented by the following definitions:

As used in this P|an, capitalized terms have the meanings set forth below:

a. “Allowed C|aim” means (i) any claim against the Debtor, proof of which was
filed on or before the date designated by the Bankruptcy Court as the last date for filing

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proofs of claim or (ii) if no proof of claim was filed, a claim which has been designated
by either Debtor as liquidated in an amount certain and not disputed or contingent in the
Debtor’s Schedu|es or any amendments thereto. |n either case, a claim to which an
objection to the allowance thereof has been raised by any party in

interest is go_t an Allowed C|aim until a determination is made

through a Final order ofjudgement from the Bankruptcy Court.

b. “Bankruptcy Code” means the Bankruptcy Code of 1978, as codified in Title
11 of the United States Bankruptcy Code by Public Law 95-598, including all
amendments thereof and thereto.

c. “Bankruptcy Court” means the United states Bankruptcy Court for the
Western District of Kentucky.

d. “Bankruptcy Ru|es” means, collectively, the Federal Rules of Bankruptcy
Procedure and the local rules of the Bankruptcy Court, as in effect at the relevant time.

e. “Chase Mortgage” means JPl\/lorgan Chase Bank, NA.

f. “C|aim” means any right to payment, whether or not such right is reduced to
judgement, liquidatedl unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, legal, equitab|e, secured, or unsecured; or any right to any equitable
remedy for breach of performancel if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed,
contingent, matured, umatured, disputed, undisputed, secured or unsecured

g. “Confirmation” means the entry of an order of confirmation of the P|an by the
Bankruptcy Court.

h. “Confirmation Order” means the order of the Bankruptcy Court confirming
this P|an pursuant to Section 1129 of the Bankruptcy Code.

i. “Debtor” means Joseph L. Hampton

j. “Effective Date” means the fifteenth (15th ) day following the date of the entry
of the Confirmation Order. But if a stay of the Confirmation Order is in effect on that
date, this term shall mean the first (1St ) business day after that date on which no stay of
the Confirmation Order is in effect, provided that the Confirmation Order has not been
vacated.

k. “Fina| Order” means an order of the Bankruptcy Court which has become
final, and which may no longer be the subject of an appeall or any certiorari or
mandamus proceeding or any other order, the effectiveness of which has not been, and
cannot be, stayed.

l. “PB|” means PB| Bank, lnc.

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m. “Plan” means this P|an of Reorganization and its exhibits, together with any
amendments or modifications thereto as may hereafter be filed prior to Confirmation.

n. “Secured C|aim” means a Claim, including principal, interest, attorneys’ fees
and other amounts owing by the Debtor, secured by a lien on property of the Debtor,
which lien is validl perfected and enforceable under applicable non-bankruptcy law and
not subject to avoidance under the Bankruptcy Code or such applicable non-bankruptcy
law as allowed in these cases, but only to the extent that such claim is not greater than
the value of the Debtor’s assets which the Court finds are validly encumbered as
security for such claim.

2.02 Severabi|ity. lf any provision in this P|an is determined to be
unenforceable, the determination will in no way limit or affect the enforceability and
operative effect of any other provision of this Plan.

2.03 Binding Effect. The rights and obligations of any entity named or referred
to in this P|an will be binding upon, and will inure to the benefit of the successors or
assigns of such entity.

2.04 Captions. The headings contained in this Plan are for convenience of
reference only and do not affect the meaning or interpretation of this P|an.

2.05 Controlling Effect. Unless a rule of law or procedure is supplied by federal
law (including the Bankruptcy code or the Bankruptcy Ru|es), the laws of the
Commonwea|th of Kentucky govern this Plan and any agreements documents and
instruments executed in connection with this P|an, except as otherwise provided in this
Plan.

ART|CLE lll
CLASS|F|CAT|ON OF CLA|MS AND lNTERESTS

3.01 Class 1. All Allowed Claims entitled to priority under § 507 of the
Bankruptcy Code (except Allowed administrative expense Claims under § 507(a)(2),
and Allowed priority tax Claims under § 507(a)(8). As of the date this P|an is proposed,
there are no known members of Class 1.

3.02 Class 2 A. C|aim of Chase secured by first mortgage on debtors
residence.

3.03 Class 2 B. Claims of Chase secured by first mortgage on 6503 Rod-N-
Reel, and 6513 Rod-N-Reel on which the parties entered into loan
modification agreement,

3.04 Class 2 C. Claims of Chase secured by a first mortgage on debtors other
(9) real properties on Rod-N-Reel Court.

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3.05 Class 2 D. C|aim of PB| for $59,514.52 secured by second mortgage on
(11) properties on Rod-N-Reel

3.06 Class 2 E. C|aim of PB| for $596,000.00 secured by property in which
debtor has 10.5% beneficial interest.

3.07 Class 2 F. Claims secured by unpaid real property tax liens for
approximately $18,500.00 secured by the properties

3.08 Class 3. All unsecured claims allowed under § 502 of the Bankruptcy
Code. Known members of the class include:

Your Community Bank $9,586.00
Stock Yards Bank $6,267.00
Total __
$15,853.00
ART|CLE lV

TREATMENT CF ADM|N|STRAT|VE EXPENSE CLA|MS,
U.S. TRUSTEES FEES. AND PR|OR|TY TAX CLA|MS

4.01 Unclassified Claims Pursuant to section § 1123(a)(1) of the Bankruptcy
code, this P|an does not designate classes for administrative expense Claims and
priority tax Claims

4.02 Administrative Expense Claims Each holder of an administrative expense
C|aim allowed under § 503 of the Bankruptcy Code will be paid in full on the Effective
Date, in cash, or upon such other terms as may be agreed upon in a writing signed by
the holder of the claim and the Debtor. Holders of Administrative Expense Claims are
the debtors attorneys Kurtz & Kurtz and Lowen & l\/lorris, and the examiner Robert
Keats.

The allowed claim of Robert Keats of $2,400.00 has previously been paid.

4.03 Priority Tax Claims Each holder of an Allowed priority tax C|aim will
receive regular quarterly installment payments in cashl in an amount sufficient to satisfy
the priority tax Claim, plus interest accruing at the applicable statutory rate, on or before
July 1, 2018. As of the date this P|an is proposed, there are $9,212.54 of priority tax
Claims against the Debtor’s estate

4.04 United States Trustee Fees. All fees required to be paid pursuant to 28
U.S.C. § 1930(a)(6) (“U.S. Trustee Fees") will accrue and be timely paid until the case is
closed, dismissed, or converted to another chapter of the Bankruptcy Code. Any U.S.
Trustee Fees owed on or before the Effective Date will be paid on the Effective Date.

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ART|CLE V
TREATMENT OF CLA|MS AND lNTERESTS UNDER THE PLAN

Claims and interests shall be treated as follows under this Plan:

 

Class impairment

Treatment

 

Class1 - Priority Unimpaired

Each holder of a Class 1 priority

Claims Claim will be paid in full, in cash
upon the later of the Effective date or the
date on which such C|aim is allowed by a
final Order Priority tax claims will be paid
in full by July 1, 2018

 

Class 2 A - Secured Residence
Claim of Chase Unimpaired

Chase will have its Claim paid in

full through regular monthly

payments as more fully set forth in

the Chase modification. ln sum, Debtor
will make cash payments to Chase in
the amount of $1,688.00 per month

 

Class 2 B - Chase l\/lodified Mortgage

Chase will have its claim paid in full
through regular monthly payments

 

Class 2 C - Chase Rental l\/lortgage

Chase will have its claim paid in full at a
reduced interest rate of 3%

 

Class 2 D - PB| Second l\/lortgage

PB| C|aim of $59,514.52 secured by a
second mortgage on (11) properties on Rod-

Reel. The claim is paid according to terms by
Park Lake LLC.

 

Class 2 E - PB| Mortgage

Class 2F-Secured Real
Property Tax

PB| C|aim for $552,500.00 (original amount
$596,000.00) paid by |nvictus Properties
LLC for five (5) properties with interest at
6% amortized over thirty (30) years

Claims secured by unpaid tax liens for real
property tax. These will be paid in full within
36 months of confirmation.

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Class 3 - General impaired Between the Effective Date and July the

Unsecured Creditors 1, 2018, the Debtor will make a sum
total of $15,853.00 available for
distributions to all holders of Allowed
of Allowed Class 3 claims commencing
sixty (60) days after the Effective Date
each holder of an Allowed Class 3 claim
will receive cash payments representing
all or a portion of the holder’s pro-rata
share of the funds available for
distribution to members of class 3. The
Debtor in its sole and absolute discretion
shall determine the frequency and timing
of distributions to be made to holders of
Allowed Class 3 claims under the P|an,
with the limitation being that the sole
available funds shall be distributed on or
before July 1, 2018

 

ART|CLE V|
ALLOWANCE AND D|SALLOWANCE OF CLA|MS

6.01 Disputed Claim, A disputed C|aim is a C|aim that has not been allowed or
disallowed by a Final Order, and as to which either: (i) a proof of C|aim has been filed or
deemed filed, and the Debtor or another party in interest has filed an objection; or (ii) no
proof of C|aim has been filed, and the Debtor has scheduled such claim as disputed,
contingent, or unliquidated

6.02 Delav of Distribution on a Disputed Claim. No distribution will be made on
account of a Disputed C|aim unless such C|aim is allowed by a Final Order or a written
agreement by the Debtor which is approved by the Bankruptcy Court under Section 6.03
of this P|an.

6.03 Settlement of Disputed Claims The Debtor will retain the power and
authority to settle and compromise a disputed C|aim with court approval and compliance
with Rule 9019 of the Bankruptcy Ru|es.

ART|CLE V||
PROV|S|ONS FOR EXECUTORY CONTRACTS
AND UNEXP|RED LEASES

There are no known executory contracts

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ART|CLE Vlll
MEANS FOR |MPLEMENTAT|ON OF THE PLAN

8.01 Post-Confirmation Ooerations. Upon the Effective Date, the Debtor will
retain all property of the estate and continue to use it in the operation of its business
Post-Confirmation operations will be directed and managed by Debtor who is an
individual. As suggested in the Debtor’s financial projections submitted with the
Disclosure Statement, the Debtor expects its post-Confirmation operations will generate
revenues sufficient to satisfy and discharge both its post-petition obligations and those
Claims treated in the Plan.

ART|CLE lX
D|SCHARGE

On the Confirmation date of this P|an, the Debtor will be discharged from any debt
that arose before Confirmation of this P|an, subject to the occurrence of the Effective
Date, to the extent specified in § 1141 (d)(l)(A) of the Bankruptcy Code, except that the
Debtor will not be discharged of any debt: (i) imposed by this Plan; (ii) of a kind specified
in § 1141 (d)(6)(A) if a timely complaint was filed in accordance with Ru|e 4007(c) of the
Bankruptcy Ru|es; or (iii) of a kind specified in § 1141 (d)(6)(B).

Upon entry of the Confirmation Order, claimants, including holders of disputed
claims, shall be forever barred and enjoined from any attempt to assess, demand or
collect such discharged indebtedness from the Debtor.

ART|CLE X
RETENT|ON OF JUR|SD|CT|ON

The Bankruptcy Court shall retain jurisdiction of this chapter 11 case pursuant to
the provisions of the Bankruptcy Code until the Debtor’s case is closed, and shall further
retain jurisdiction with respect to the following matters:

a. To classify, allow or disallow claims, direct distributions under the P|an, and
adjudicate all controversies concerning classification or allowance of any C|aim against,
or interest in, the Debtor.

b. To enforce performance of the P|an against the Debtor, all claimants or any
other entity.

c. To hear and determine all Claims arising from the rejection of executory
contracts and unexpired leases, and to consummate the rejection and termination
thereof, and to hear and determine all matters relating to the assumption of executory

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contracts and unexpired leases and the assumption and assignment of executory
contracts and unexpired leases

d. To liquidate damages or estimate Claims in connection with any disputed,
contingent or unliquidated Claim;

e. To adjudicate all claims to an ownership interest in any property of the Debtor
or of the estate or any proceeds thereof;

f. To adjudicate all claims or controversies arising out of any purchase, sale or
contract made or undertaken by the Debtor during the pendency of this chapter 11 case;

g. To recover all assets and properties of the Debtor, wherever located;

h. To hear and determine matters concerning state, local and federal taxes
pursuant to §§ 345, 505, 525, and 1146 of the Bankruptcy Code;

i. To hear and determine any action or proceeding brought by the Debtor under §§
510, 542, 543, 544, 545, 547, 548, 549, 550, 551, or 553 of the Bankruptcy Code.

j. To hear and determine all actions and proceedings brought by the Debtor
arising in or related to this chapter 11 case, or otherwise arising under the Bankruptcy
Code.

k. To determine the validity, extent and priority of all liens against property of the
Debtor’s estate.

l. To consider any modification of the Plan under § 1127 of the Bankruptcy Code
and/or modification of the P|an after substantial consummation thereof;

m. To hear and determine all controversies suits and disputes that arise in
connection with the interpretation or enforcement of the Plan.

n. To hear and determine all requests for compensation and/or reimbursement of
expenses that may be made after the date of Confirmation; and

o. To hear and determine such matters and make such orders consistent with the
P|an as may be necessary or desirable to carry out the provisions thereof.

lf the Bankruptcy Court abstains from exercising or declines to exercise jurisdiction
or is otherwise without jurisdiction over any matter arising out of this chapter 11 case,
including the matters set forth herein, or if the Debtor elects to bring an action in any
other forum, this Article shall have no effect upon and shall not control, prohibit or limit
the exercise ofjurisdiction by any other court having jurisdiction with respect to such
matter.

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ART|CLE Xl
RESERVAT|ON OF RlGHTS

The filing of the P|an, any statement or provision contained herein, or any action
taken by any creditor with respect to the P|an shall not be, or be deemed to be, (i) an
admission against interest nor (ii) a waiver of any rights which Debtor may have against
any entity, or which any creditor may have against the Debtor, Debtor’s property or any
other creditor may have against any entity. All such rights are specifically reserved until
entry of the Confirmation Order. The Debtor reserves the right to object to Claims ln the
event that no Confirmation Order is entered, neither this P|an nor any statement
contained herein or action taken in connection therewith, may be used or relied upon in
any manner in any suit, action, proceeding or controversy within or outside of the
reorganization case involving the Debtor.

ART|CLE X11
CRAMDOWN

Debtor, as the proponent of the Planl hereby requests that the Bankruptcy Court
find that the P|an provides fair and equitable treatment of the impaired classes of Claims
and interests, and, if such classes do not accept the P|an, that the Bankruptcy Court
confirm the P|an notwithstanding section 1129(a)(8) of the Bankruptcy Code.

lN WlTNESS WHEREOF, the Debtor has submitted this P|an of Reorganization
this W day of tv;r}v\ ,2013.

 

JOSEPH L. HAMPTON
DEBTOF:W DEBTOR |N POSSESS|ON
,/

By: "

 

/W d r/(:j

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